                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )    No. 1:07-cr-105-HSM-SKL
                                                )
 BRENT CUDD                                     )

                                 MEMORANDUM AND ORDER

       BRENT CUDD (“Defendant”) appeared for a hearing on November 24, 2015, in accordance
 with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for a Warrant or
 Summons for an Offender Under Supervision (“Petition”).

         Defendant was placed under oath and informed of his constitutional rights. It was
 determined that Defendant wished to be represented by an attorney and he qualified for appointed
 counsel. Federal Defender Services of Eastern Tennessee was appointed to represent Defendant. It
 was also determined that Defendant had been provided with and reviewed with counsel a copy of
 the Petition.

         The Government moved that Defendant be detained without bail pending his revocation
 hearing before U.S. District Judge Mattice. Defendant waived his right to a preliminary hearing and
 a detention hearing.

        Based upon the Petition and waiver of preliminary hearing, the Court finds there is probable
 cause to believe Defendant has committed violations of his condition of supervised release as
 alleged in the Petition.

        Accordingly, it is ORDERED that:

        (1) Defendant shall appear for a revocation hearing before U.S. District Judge Mattice.

        (2) The Government’s motion that Defendant be DETAINED WITHOUT BAIL pending
        his revocation hearing before Judge Mattice is GRANTED.

        (3) The U.S. Marshal shall transport Defendant to a revocation hearing set before District
        Judge Mattice on December 15, 2015 at 9:00 a.m.

        SO ORDERED.

        ENTER.
                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE



Case 1:07-cr-00105-HSM-SKL          Document 115        Filed 11/30/15     Page 1 of 1     PageID
                                          #: 214
